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  15                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  16                             WESTERN DIVISION
  17     ENTERTAINMENT STUDIOS                    CASE NO. 2:21-cv-04972-FMO-MAA
         NETWORKS, INC., a California             Assigned to the Honorable Fernando M.
  18     corporation; WEATHER GROUP, LLC,         Olguin for all purposes.
  19     a Delaware limited liability company,
                                                  McDONALD’S USA, LLC’S
  20                    Plaintiffs,               ANSWER TO THIRD AMENDED
  21                                              COMPLAINT
             v.
  22
         McDONALD’S USA LLC, a Delaware
  23     limited liability company,

  24                    Defendant.
  25

  26         Defendant McDONALD’S USA, LLC (“McDonald’s” or “Defendant”) upon
  27
       personal knowledge and/or upon information and belief, respectfully submits this
  28
                   McDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1   Answer to Plaintiffs Third Amended Complaint as follows:
   2
                                       INTRODUCTION
   3
             ANSWER ¶ 1: Defendant admits that Plaintiffs filed the instant lawsuit
   4

   5   against Defendant, the claims of which are contained in the Third Amended

   6   Complaint; however, Defendant denies that it has engaged in “racial discrimination
   7
       in contracting in violation of the Civil Rights Act of 1866, codified at 42 U.S.C. §
   8

   9   1981, and the California Unruh Civil Rights Act, California Civil Code § 51.5”
  10   against Plaintiffs or that Plaintiffs are entitled to any relief whatsoever. Answering
  11
       further, Defendant denies Plaintiffs’ characterization of this litigation as “a civil
  12

  13   rights lawsuit”; this litigation is not about civil rights, but rather a premeditated,
  14   calculated effort by Byron Allen—owner of Entertainment Studios Networks, Inc.
  15
       and Weather Group LLC—to increase the revenue he receives from McDonald’s and
  16

  17   other major advertisers like McDonald’s. Defendant denies the remaining allegations
  18
       as stated in Paragraph 1 of Plaintiffs’ Third Amended Complaint.
  19
             ANSWER ¶ 2: Defendant denies the allegations as stated in Paragraph 2 of
  20

  21   Plaintiffs’ Third Amended Complaint.
  22
             ANSWER ¶ 3: Defendant denies the allegations as stated in Paragraph 3 of
  23
       Plaintiffs’ Third Amended Complaint.
  24

  25         ANSWER ¶ 4: Defendant admits that the statement quoted in Paragraph 4 of
  26
       the Third Amended Complaint is contained in a November 1, 2021 press release from
  27

  28
                                                 -2-
                   MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1   U.S. Representative Bobby Rush of Illinois.         Defendant denies the remaining
   2
       allegations as stated in Paragraph 4 of Plaintiffs’ Third Amended Complaint.
   3

   4         ANSWER ¶ 5: Defendant admits that a McDonald’s shareholder submitted a

   5   shareholder proposal, which is publicly available, “urg[ing] the Board of Directors
   6
       to oversee a third-party audit analyzing the adverse impact of McDonald’s policies
   7

   8   and practices on the civil rights of company stakeholders, above and beyond legal
   9   and regulatory matters, and to provide recommendations for improving the
  10
       company’s civil rights impact.” Defendant denies the remaining allegations as stated
  11

  12   in Paragraph 5 of Plaintiffs’ Third Amended Complaint.
  13         ANSWER ¶ 6: Defendant admits that McDonald’s is a named defendant in
  14
       the case styled Victoria Guster-Hines and Domineca Neal v. McDonald’s USA, LLC,
  15

  16   et al. (N.D. Ill. Case No. 1:20-cv-00117), and that plaintiffs in that lawsuit have made
  17
       claims of intentional racial discrimination. Defendant denies the remaining
  18
       allegations as stated in Paragraph 6 of Plaintiffs’ Third Amended Complaint.
  19

  20         ANSWER ¶ 7: Defendant admits that McDonald’s is a named defendant in
  21
       the case styled Christine Crawford, et al. v. McDonald’s USA, LLC, et al., (N.D. Ill.
  22
       Case No. 1:20-cv-05132), and that plaintiffs in that lawsuit have made claims of
  23

  24   intentional racial discrimination. Answering further, Defendant states that it has
  25
       moved to dismiss the operative complaint in its entirety. Defendant denies the
  26
       remaining allegations as stated in Paragraph 7 of Plaintiffs’ Third Amended
  27

  28   Complaint.
                                                 -3-
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1         ANSWER ¶ 8: Defendant admits that McDonald’s was a named defendant in
   2
       the case styled Washington v. McDonald’s USA, LLC, Case No. 4:21-cv-00367 (N.D.
   3

   4   Ohio); that the plaintiff in that lawsuit (Herb Washington) made claims of intentional

   5   racial discrimination; that Defendant paid Mr. Washington $33.5 million to purchase
   6
       his 14 restaurants and Mr. Washington exited the McDonald’s franchise system; and
   7

   8   that as a result of Defendant’s purchase and Mr. Washington’s exit, the case was
   9   settled in November 2021. Defendant denies the remaining allegations as stated in
  10
       Paragraph 8 of Plaintiffs’ Third Amended Complaint.
  11

  12         ANSWER ¶ 9: Defendant denies the allegations as stated in Paragraph 9 of
  13   Plaintiffs’ Third Amended Complaint.
  14
             ANSWER ¶ 10: Defendant admits that Byron Allen is African American and,
  15

  16   through the Allen Media Group, owns Plaintiff Entertainment Studios. Answering
  17
       further, Defendant lacks knowledge or information sufficient to form a belief about
  18
       the truth of the specific allegations regarding whether Entertainment Studios is
  19

  20   “solely owned” by Mr. Allen, and therefore denies them. Defendant denies the
  21
       remaining allegations as stated in Paragraph 10 of Plaintiffs’ Third Amended
  22
       Complaint.
  23

  24         ANSWER ¶ 11: Defendant admits that at year-end 2021, there were 40,031
  25
       McDonald’s restaurants in 119 countries. Answering further, Defendant states that in
  26
       2021, McDonald's Corporation achieved global Systemwide sales of $112 billion
  27

  28   (inclusive of both Company and franchise sales). Answering further, Defendant
                                                 -4-
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1   admits that the total compensation (including salary, stock awards, option awards,
   2
       and other forms of compensation) awarded to the President and CEO of McDonald’s
   3

   4   Corporation for fiscal year 2020 was $10,847,032. Defendant denies the remaining

   5   allegations as stated in Paragraph 11 of Plaintiffs’ Third Amended Complaint.
   6
             ANSWER ¶ 12: Defendant denies the allegations as stated in Paragraph 12
   7

   8   of Plaintiffs’ Third Amended Complaint.
   9         ANSWER ¶ 13: Defendant admits that it has not purchased advertising on
  10
       Entertainment Studio’s lifestyle networks, but denies the allegations that it “refused”
  11

  12   to do so, and states that those properties were not selected as they do not satisfy the
  13   selection criteria used by McDonald’s advertising agencies to evaluate all potential
  14
       media partners. Answering further, Defendant states that it consistently purchased
  15

  16   advertising on Entertainment Studios’ syndicated programming until 2019, and that
  17   in 2021 and 2022, consistent with its current media strategy, McDonald’s purchased
  18
       advertising on two of Plaintiffs’ digital properties, The Grio and Local Now.
  19

  20   Defendant denies the remaining allegations as stated in Paragraph 13.
  21
             ANSWER ¶ 14: Defendant denies the allegations as stated in Paragraph 14
  22
       of Plaintiffs’ Third Amended Complaint.
  23

  24         ANSWER ¶ 15: Defendant denies the allegations as stated in Paragraph 15
  25
       of Plaintiffs’ Third Amended Complaint.
  26
             ANSWER ¶ 16: Defendant denies the allegations as stated in Paragraph 15
  27

  28   of Plaintiffs’ Third Amended Complaint.
                                                 -5-
                   MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1         ANSWER ¶ 17: Defendant denies the allegations as stated in Paragraph 17
   2
       of Plaintiffs’ Third Amended Complaint.
   3

   4         ANSWER ¶ 18: Defendant admits that it advertised on Entertainment Studios

   5   syndicated programming consistently until 2019, and further admits that in 2021 and
   6
       2022, consistent with its current media strategy, Defendant purchased advertising
   7

   8   with two Entertainment Studios digital properties, The Grio and Local Now.
   9   Defendant denies the remaining allegations as stated in Paragraph 18 of Plaintiffs’
  10
       Third Amended Complaint.
  11

  12         ANSWER ¶ 19: Defendant admits that Entertainment Studios markets some
  13   channels that “do not target just African Americans,” but denies that those “channels
  14
       have widespread appeal among all races.” Answering further, Defendant denies that
  15

  16   it has ever “stereotype[d] Allen’s Entertainment Studios,” and states that all decisions
  17
       regarding whether to purchase advertising on any Entertainment Studios offering
  18
       were the result of evaluation of that programming against the selection criteria used
  19

  20   by McDonald’s advertising agencies to evaluate all potential media partners.
  21
       Defendant lacks knowledge or information sufficient to form a belief about the truth
  22
       of the remaining allegations as stated in Paragraph 19 of Plaintiffs’ Third Amended
  23

  24   Complaint, and therefore denies them.
  25
             ANSWER ¶ 20: Defendant admits that Entertainment Studios currently
  26
       markets as “cable channels” the following programming: Justice Central, Comedy,tv,
  27

  28   Recipe,tv, Cars.tv, ES.tv, Pets.tv, and MyDestination.tv, and that such programming
                                                  -6-
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1   is not targeted specifically to African American audiences.           Defendant lacks
   2
       knowledge or information sufficient to form a belief about the truth of the remaining
   3

   4   allegations as stated in Paragraph 20 of Plaintiffs’ Third Amended Complaint, and

   5   therefore denies them.
   6
             ANSWER ¶ 21: Defendant admits that it has not purchased advertising on
   7

   8   Entertainment Studio’s “lifestyle networks,” but denies the allegations that it
   9   “refused” to do so because they are owned by an African American, and states that
  10
       those properties were not selected as they do not satisfy the selection criteria used by
  11

  12   McDonald’s advertising agencies to evaluate all potential media partners. Defendant
  13   lacks knowledge or information sufficient to form a belief about the truth of the
  14
       allegations regarding whether any of the referenced cable networks are “white-
  15

  16   owned,” as stated in paragraph 21 of Plaintiffs’ Third Amended Complaint, and
  17
       therefore denies them. Defendant denies the remaining allegations as stated in
  18
       paragraph 21 of Plaintiffs’ Third Amended Complaint.
  19

  20         ANSWER ¶ 22: Defendant lacks knowledge or information sufficient to form
  21
       a belief about the truth of the specific allegations as stated in Paragraph 22 of
  22
       Plaintiffs’ Third Amended Complaint regarding whether The Weather Channel is
  23

  24   considered “an African American targeted network,” and therefore denies them.
  25
       Defendant denies the remaining allegations as stated in the paragraph 22 of Plaintiffs’
  26
       Third Amended Complaint.
  27

  28
                                                  -7-
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1           ANSWER ¶ 23: Defendant admits that it has not purchased advertising on
   2
       The Weather Channel after Allen Media Group purchased it in 2018, but denies the
   3

   4   allegations that it “refused” to do so because it is owned by an African American,

   5   and states that this property was not selected as it does not satisfy the selection criteria
   6
       used by McDonald’s advertising agencies to evaluate all potential media partners.
   7

   8   Answering further, Defendant states that for this same reason, it did not purchase
   9   advertising on The Weather Channel before the Allen Media Group acquired it in
  10
       2018. Defendant lacks knowledge or information sufficient to form a belief about the
  11

  12   truth of the allegations regarding whether any of the referenced cable networks are
  13   “white-owned,” as stated in paragraph 23 of Plaintiffs’ Third Amended Complaint,
  14
       and therefore denies them. Defendant denies the remaining allegations as stated in
  15

  16   paragraph 23 of Plaintiffs’ Third Amended Complaint.
  17
               ANSWER ¶ 24: Defendant denies that it engaged in any “discriminatory
  18
       treatment of Entertainment Studios and Weather Group,” or that either entity has
  19

  20   suffered any damage, let alone “significant damage.” Defendant lacks knowledge or
  21
       information sufficient to form a belief about the truth of the remaining allegations as
  22
       stated in Paragraph 24 of Plaintiffs’ Third Amended Complaint, and therefore denies
  23

  24   them.
  25
               ANSWER ¶ 25: Defendant denies the allegations as stated in Paragraph 25
  26
       of Plaintiffs’ Third Amended Complaint.
  27

  28
                                                   -8-
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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   1         ANSWER ¶ 26: Defendant lacks knowledge or information sufficient to form
   2
       a belief about the truth of the allegations regarding whether any of the referenced
   3

   4   cable networks are “white-owned,” as stated in paragraph 26 of Plaintiffs’ Third

   5   Amended Complaint, and therefore denies them. Defendant denies the remaining
   6
       allegations as stated in Paragraph 26 of Plaintiffs’ Third Amended Complaint.
   7

   8         ANSWER ¶ 27: Defendant admits it is committed to actively fostering an
   9   inclusive environment, where diversity is embraced as an advantage. Defendant denies
  10
       the remaining allegations as stated in Paragraph 27 of Plaintiffs’ Third Amended
  11

  12   Complaint.
  13         ANSWER ¶ 28: Paragraph 28 of Plaintiff’s Third Amended Complaint
  14
       contains statements of law and legal conclusions to which no answer is required.
  15

  16         ANSWER ¶ 29: McDonald’s admits that it operates within a society
  17
       grappling with systemic racism and the need to drive equitable opportunity for all.
  18
       Answering further, McDonald’s states that it is working with its Diverse Marketing
  19

  20   Advisory Council and the like-minded brands to identify and solve for the systemic
  21
       barriers facing Black-owned companies—all part of McDonald’s efforts to drive
  22
       broader change across the marketing industry.
  23

  24         ANSWER ¶ 30: Defendant denies that it has committed any of the
  25
       supposed “civil rights violations” alleged by Plaintiffs, that Plaintiffs have been
  26
       harmed in any way, or that they are entitled to any compensation whatsoever.
  27

  28                                         PARTIES
                                                 -9-
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 31: Defendant lacks knowledge or information sufficient to form
    2
        a belief about the truth of the allegations as stated in Paragraph 31 of Plaintiffs’ Third
    3

    4   Amended Complaint, and therefore denies them.

    5         ANSWER ¶ 32: Defendant lacks knowledge or information sufficient to form
    6
        a belief about the truth of the allegations as stated in Paragraph 32 of Plaintiffs’ Third
    7

    8   Amended Complaint, and therefore denies them.
    9         ANSWER ¶ 33: Defendant admits that McDonald’s is a Delaware limited
   10
        liability company headquartered in Chicago, Illinois, and that it is a wholly owned
   11

   12   subsidiary of McDonald’s Corporation, a Delaware corporation headquartered in
   13   Chicago, Illinois.    McDonald’s denies the remaining allegations as stated in
   14
        paragraph 33 of Plaintiffs’ Third Amended Complaint.
   15

   16                              JURISDICTION AND VENUE

   17         ANSWER ¶ 34: Defendant admits that Plaintiffs assert claims for relief
   18
        pursuant to 42 U.S.C. §1981, and California Unruh Civil Rights Act, California Civil
   19
        Code § 51.5, and that Plaintiffs are invoking jurisdiction under 28 U.S.C. §§ 1331
   20

   21   and 1367. Answering further, Defendant denies (i) the substantive fact allegations
   22
        as stated in the Third Amended Complaint upon which Plaintiffs base their claims
   23
        against Defendant; and (ii) that Plaintiffs are entitled to the relief they seek in the
   24

   25   Third Amended Complaint.
   26
              ANSWER ¶ 35: Defendant admits that Plaintiffs assert venue is proper in
   27
        this Court under 28 U.S.C. § 1391(b)(2). Answering further, Defendant denies the
   28
                                                   - 10 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   remaining allegations as stated in Paragraph 35 of Plaintiffs’ Third Amended
    2
        Complaint, and further deny (i) the substantive fact allegations as stated in the
    3

    4   Third Amended Complaint upon which Plaintiffs base their claims against

    5   Defendant; and (ii) that Plaintiffs are entitled to the relief they seek in the Third
    6
        Amended Complaint.
    7

    8
                      FACTS COMMON TO ALL CAUSES OF ACTION

    9         ANSWER ¶ 36: Defendant lacks knowledge or information sufficient to
   10   form a belief about the truth of the allegations as stated in Paragraph 36 of Plaintiffs’
   11
        Third Amended Complaint, and therefore denies them.
   12

   13         ANSWER ¶ 37: Defendant lacks knowledge or information sufficient to form
   14   a belief about the truth of the allegations as stated in Paragraph 37 of Plaintiffs’ Third
   15
        Amended Complaint, and therefore denies them.
   16

   17         ANSWER ¶ 38: Defendant lacks knowledge or information sufficient to form
   18
        a belief about the truth of the allegations as stated in Paragraph 38 of Plaintiffs’ Third
   19
        Amended Complaint, and therefore denies them.
   20

   21         ANSWER ¶ 39: Defendant admits that Entertainment Studios currently
   22
        offers the following syndicated programming: Court Combo, Funny You Should
   23
        Ask, ES Weekly Network, ES Daily Network, and Weather Combo. Defendant lacks
   24

   25   knowledge or information sufficient to form a belief about the truth of the remaining
   26
        allegations as stated in Paragraph 39 of Plaintiffs’ Third Amended Complaint, and
   27
        therefore denies them.
   28
                                                   - 11 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 40: Defendant lacks knowledge or information sufficient to form
    2
        a belief about the truth of the allegations as stated in Paragraph 40 of Plaintiffs’ Third
    3

    4   Amended Complaint, and therefore denies them.

    5         ANSWER ¶ 41: Defendant lacks knowledge or information sufficient to form
    6
        a belief about the truth of the allegations as stated in Paragraph 40 of Plaintiffs’ Third
    7

    8   Amended Complaint, and therefore denies them.
    9         ANSWER ¶ 42: Defendant admits that Entertainment Studios currently
   10
        markets as “cable channels” the following programming: Justice Central, Comedy,tv,
   11

   12   Recipe,tv, Cars.tv, ES.tv, Pets.tv, and MyDestination.tv. Defendant lacks knowledge
   13   or information sufficient to form a belief about the truth of the remaining allegations
   14
        as stated in Paragraph 42 of Plaintiffs’ Third Amended Complaint, and therefore
   15

   16   denies them.
   17         ANSWER ¶ 43: Defendant lacks knowledge or information sufficient to form
   18
        a belief about the truth of the allegations as stated in Paragraph 43 of Plaintiffs’ Third
   19

   20   Amended Complaint, and therefore denies them.
   21
              ANSWER ¶ 44: Defendant lacks knowledge or information sufficient to form
   22
        a belief about the truth of the allegations as stated in Paragraph 44 of Plaintiffs’ Third
   23

   24   Amended Complaint, and therefore denies them.
   25
              ANSWER ¶ 45: Defendant denies that the ESN “Lifestyle Networks” “have
   26
        high viewer demand.” Defendant lacks knowledge or information sufficient to form
   27

   28
                                                   - 12 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   a belief about the truth of the remaining allegations as stated in Paragraph 45 of
    2
        Plaintiffs’ Third Amended Complaint, and therefore denies them.
    3

    4           ANSWER ¶ 46: Defendant lacks knowledge or information sufficient to form

    5   a belief about the truth of the allegations as stated in Paragraph 46 of Plaintiffs’ Third
    6
        Amended Complaint, and therefore denies them.
    7

    8           ANSWER ¶ 47: Defendant lacks knowledge or information sufficient to form
    9   a belief about the truth of the allegations as stated in Paragraph 47 of Plaintiffs’ Third
   10
        Amended Complaint, and therefore denies them.
   11

   12           ANSWER ¶ 48: Defendant admits that at year-end 2021, there were 40,031
   13   McDonald’s restaurants in 119 countries. Answering further, Defendant states that in
   14
        2021, McDonald's Corporation achieved global Systemwide sales of $112 billion
   15

   16   (inclusive of both Company and franchise sales). Defendant lacks knowledge or
   17
        information sufficient to form a belief about the truth of the remaining allegations as
   18
        stated in Paragraph 48 of Plaintiffs’ Third Amended Complaint, and therefore denies
   19

   20   them.
   21
                ANSWER ¶ 49: Defendant admits that the total compensation (including
   22
        salary, stock awards, option awards, and other forms of compensation) awarded to
   23

   24   the President and CEO of McDonald’s Corporation for fiscal year 2020 was
   25
        $10,847,032. Defendant denies the remaining allegations as stated in paragraph 49
   26
        of Plaintiffs’ Third Amended Complaint.
   27

   28
                                                   - 13 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 50: Defendant admits that it engages advertising agencies to
    2
        evaluate potential media partners and make recommendations on potential media
    3

    4   purchases in accordance with McDonald’s overall media strategy. Defendant denies

    5   the remaining allegations as stated in paragraph 50 of Plaintiffs’ Third Amended
    6
        Complaint.
    7

    8         ANSWER ¶ 51: Defendant denies the allegations as stated in paragraph 51
    9   of Plaintiffs’ Third Amended Complaint.
   10
              ANSWER ¶ 52: Defendant denies the allegations as stated in paragraph 52
   11

   12   of Plaintiffs’ Third Amended Complaint.
   13         ANSWER ¶ 53: Defendant denies the allegations as stated in paragraph 53
   14
        of Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that it
   15

   16   consistently    purchased   advertising   on       Entertainment   Studios’   syndicated
   17
        programming until 2019, and that in 2021 and 2022, consistent with its current media
   18
        strategy, McDonald’s purchased advertising on two of Plaintiffs’ digital properties,
   19

   20   The Grio and Local Now.
   21
              ANSWER ¶ 54: Defendant denies the allegations as stated in paragraph 54
   22
        of Plaintiffs’ Third Amended Complaint.
   23

   24         ANSWER ¶ 55: Defendant admits it engaged Burrell Communications
   25
        (“Burrell”) as one of its several advertising agency partners, and that one area of
   26
        Burrell’s expertise is advertising to the African American Consumer Market
   27

   28
                                                  - 14 -
                       MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   (“AACM”) segment. Defendant denies the remaining allegations as stated in
    2
        paragraph 55 of Plaintiffs’ Third Amended Complaint.
    3

    4         ANSWER ¶ 56: Defendant denies the allegations as stated in paragraph 56

    5   of Plaintiffs’ Third Amended Complaint.
    6
              ANSWER ¶ 57: Defendant admits that it is a standard practice for media
    7

    8   partners to offer contract guarantees. Defendant denies the remaining allegations as
    9   stated in paragraph 57 of Plaintiffs’ Third Amended Complaint.
   10
              ANSWER ¶ 58: Defendant admits that it consistently purchased advertising
   11

   12   on Entertainment Studios’ syndicated programming until 2019, and that in 2021 and
   13   2022, consistent with its current media strategy, McDonald’s purchased advertising
   14
        on two of Plaintiffs’ digital properties, The Grio and Local Now. Defendant denies
   15

   16   the remaining allegations in paragraph 58 of Plaintiffs’ Third Amended Complaint.
   17
              ANSWER ¶ 59: Defendant denies the allegations as stated in paragraph 59
   18
        of Plaintiffs’ Third Amended Complaint.
   19

   20         ANSWER ¶ 60: Defendant admits that Mr. Allen spoke directly to former
   21
        McDonald’s CMO, Deborah Wahl, in 2015 and 2016. Answering further, Defendant
   22
        admits that in early 2015, Entertainment Studios sent McDonald’s a proposal for $4.9
   23

   24   million in advertising, and that after McDonald’s stood firm on its prior investment
   25
        offer of $770,000 (and explained that its current media strategy reflected an overall
   26
        decrease in television and a greater investment in digital), Mr. Allen threatened to
   27

   28   file a discrimination lawsuit against McDonald’s if it did not increase its media spend
                                                 - 15 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   with his company. Answering further, McDonald’s admits that in 2015, it purchased
    2
        through Burrell approximately $772,000 in advertising on Plaintiffs’ syndicated
    3

    4   media offerings. Defendant denies the remaining allegations as stated in paragraph

    5   60 of Plaintiffs’ Third Amended Complaint.
    6
              ANSWER ¶ 61: Defendant denies that McDonald’s “label[ed] Entertainment
    7

    8   Studios as an African American media company even after Allen acquired Weather
    9   Group in 2018.” Defendant lacks knowledge or information sufficient to form a belief
   10
        about the truth of the remaining allegations as stated in Paragraph 61 of Plaintiffs’
   11

   12   Third Amended Complaint, and therefore denies them.
   13         ANSWER ¶ 62: Defendant lacks knowledge or information sufficient to form
   14
        a belief about the truth of the allegations as stated in Paragraph 62 of Plaintiffs’ Third
   15

   16   Amended Complaint, and therefore denies them.
   17         ANSWER ¶ 63: Defendant admits that it has not purchased advertising on
   18
        The Weather Channel, including prior to the time that it was acquired by the Allen
   19

   20   Media Group in 2018, but denies the allegations that it “refused” to do so because it
   21
        is owned by an African American, and states that this property was not selected as it
   22
        does not satisfy the selection criteria used by McDonald’s advertising agencies to
   23

   24   evaluate all potential media partners. Defendant lacks knowledge or information
   25
        sufficient to form a belief about the truth of the allegations regarding whether any of
   26
        the referenced cable networks are “white-owned,” as stated in paragraph 63 of
   27

   28   Plaintiffs’ Third Amended Complaint, and therefore denies them. Defendant denies
                                                   - 16 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   the remaining allegations as stated in Paragraph 63 of Plaintiffs’ Third Amended
    2
        Complaint.
    3

    4         ANSWER ¶ 64: Defendant admits that since 2018, representatives from the

    5   Weather Group have periodically provided presentations to McDonald’s advertising
    6
        agencies, including OMD, regarding Weather Group’s media properties. Defendant
    7

    8   denies the remaining allegations as stated in paragraph 64 of the Third Amended
    9   Complaint.
   10
              ANSWER ¶ 65: Defendant admits that in 2021 and 2022, consistent with its
   11

   12   current media strategy, it purchased advertising on Weather Group’s digital property,
   13   Local Now. Answering further, Defendant admits that it has not purchased
   14
        advertising on The Weather Channel through its advertising agencies, Burrell and
   15

   16   OMD, either before or after Allen Media Group purchased Weather Group, as The
   17
        Weather Channel did not satisfy the selection criteria used by McDonald’s
   18
        advertising agencies to evaluate all potential media partners and, therefore, did not
   19

   20   fit within McDonald’s media strategy. Answering further, Defendant denies that The
   21
        Weather Channel is “well suited to execute on McDonald’s specific ad campaign[s].”
   22
        Defendant denies the remaining allegations as stated in paragraph 65 of the Third
   23

   24   Amended Complaint.
   25
              ANSWER ¶ 66: Defendant admits that in 2021 and 2022, consistent with its
   26
        current media strategy, it purchased advertising on Weather Group’s digital property,
   27

   28   Local Now. Answering further, Defendant admits that it has not purchased
                                                 - 17 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   advertising on The Weather Channel through its advertising agencies, Burrell and
    2
        OMD, either before or after Allen Media Group purchased Weather Group, as The
    3

    4   Weather Channel did not satisfy the selection criteria used by McDonald’s

    5   advertising agencies to evaluate all potential media partners and, therefore, did not
    6
        fit within McDonald’s media strategy. Defendant denies the remaining allegations as
    7

    8   stated in paragraph 66 of the Third Amended Complaint.
    9         ANSWER ¶ 67: Defendant denies the allegations in Paragraph 67 of
   10
        Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that it
   11

   12   consistently bought advertising on Entertainment Studios’ syndicated programming
   13   until 2019, and that in 2021 and 2022, consistent with its current media strategy,
   14
        McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
   15

   16   and Local Now.
   17         ANSWER ¶ 68: Defendant denies the allegations as stated in Paragraph 68
   18
        of Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that it
   19

   20   consistently bought advertising on Entertainment Studios’ syndicated programming
   21
        until 2019, and that in 2021 and 2022, consistent with its current media strategy,
   22
        McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
   23

   24   and Local Now.
   25
              ANSWER ¶ 69: Defendant denies the allegations as stated in Paragraph 69
   26
        of Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that it
   27

   28   consistently bought advertising on Entertainment Studios’ syndicated programming
                                                 - 18 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   until 2019, and that in 2021 and 2022, consistent with its current media strategy,
    2
        McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
    3

    4   and Local Now. Answering further, Defendant states that on numerous occasions

    5   Plaintiffs have pitched their media offerings directly to OMD for consideration.
    6
              ANSWER ¶ 70: Defendant lacks knowledge or information sufficient to form
    7

    8   a belief about the truth of the specific allegations as stated in Paragraph 70 of
    9   Plaintiffs’ Third Amended Complaint, and therefore denies them. Answering further,
   10
        Defendant states that on numerous occasions Plaintiffs have pitched their media
   11

   12   offerings directly to OMD for consideration.
   13         ANSWER ¶ 71: Defendant lacks knowledge or information sufficient to form
   14
        a belief about the truth of the specific allegations as stated in Paragraph 71 of
   15

   16   Plaintiffs’ Third Amended Complaint, and therefore denies them. Answering further,
   17
        Defendant states that on numerous occasions Plaintiffs have pitched their media
   18
        offerings directly to OMD for consideration.
   19

   20         ANSWER ¶ 72: Defendant lacks knowledge or information sufficient to form
   21
        a belief about the truth of the specific allegations as stated in paragraph 72 of
   22
        Plaintiffs’ Third Amended Complaint regarding what OMD employee Debbie Innes
   23

   24   allegedly “expressly told Galatt,” and therefore denies them. Defendant denies the
   25
        remaining allegations as stated in paragraph 72 of Plaintiffs’ Third Amended
   26
        Complaint.
   27

   28
                                                - 19 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 73: Defendant lacks knowledge or information sufficient to form
    2
        a belief about the truth of the specific allegations as stated in paragraph 83 of
    3

    4   Plaintiffs’ Third Amended Complaint regarding the activities of OMD’s other clients,

    5   and therefore denies them. Defendant denies the remaining allegations as stated in
    6
        paragraph 73 of Plaintiffs’ Third Amended Complaint. Answering further, Defendant
    7

    8   states that on numerous occasions Plaintiffs have pitched their media offerings
    9   directly to OMD for consideration.
   10
              ANSWER ¶ 74: Defendant denies the allegations as stated in paragraph 74
   11

   12   of Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that it
   13   consistently bought advertising on Entertainment Studios’ syndicated programming
   14
        until 2019, and that in 2021 and 2022, consistent with its current media strategy,
   15

   16   McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
   17
        and Local Now.
   18
              ANSWER ¶ 75: Defendant lacks knowledge or information sufficient to form
   19

   20   a belief about the truth of the specific allegations as stated in paragraph 75 of
   21
        Plaintiffs’ Third Amended Complaint, and therefore denies them.
   22
              ANSWER ¶ 76: McDonald’s denies the allegations as stated in paragraph 75
   23

   24   of Plaintiffs’ Third Amended Complaint.
   25
              ANSWER ¶ 77: Defendant admits that it has not purchased advertising on
   26
        The Weather Channel through its advertising agencies, Burrell and OMD, either
   27

   28   before or after Allen Media Group purchased Weather Group, as The Weather
                                                - 20 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   Channel did not satisfy the selection criteria used by McDonald’s advertising
    2
        agencies to evaluate all potential media partners and, therefore, did not fit within
    3

    4   McDonald’s media strategy. Defendant lacks knowledge or information sufficient to

    5   form a belief about the truth of the remaining allegations as stated in paragraph 77 of
    6
        Plaintiffs’ Third Amended Complaint, and therefore denies them.
    7

    8         ANSWER ¶ 78: Defendant admits that it has not purchased advertising on
    9   The Weather Channel through its advertising agencies, Burrell and OMD, either
   10
        before or after Allen Media Group purchased Weather Group, as The Weather
   11

   12   Channel did not satisfy the selection criteria used by McDonald’s advertising
   13   agencies to evaluate all potential media partners and, therefore, did not fit within
   14
        McDonald’s media strategy. Defendant lacks knowledge or information sufficient to
   15

   16   form a belief about the truth of the remaining allegations as stated in paragraph 78 of
   17
        Plaintiffs’ Third Amended Complaint, and therefore denies them.
   18
              ANSWER ¶ 79: Defendant denies that it engaged or engages in “racial
   19

   20   stereotyping,” and states that all decisions regarding whether to purchase advertising
   21
        on any Allen Media Group offering were the result of an evaluation of that
   22
        programming against the selection criteria used by McDonald’s advertising agencies
   23

   24   to evaluate all potential media partners. Answering further, Defendant states that it
   25
        consistently bought advertising on Entertainment Studios’ syndicated programming
   26
        until 2019, and that in 2021 and 2022, consistent with its current media strategy,
   27

   28   McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
                                                 - 21 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   and Local Now. Answering further, Defendant admits it has not purchased
    2
        advertising on ESN Lifestyle Networks through its advertising agencies, as they did
    3

    4   not satisfy the selection criteria used by McDonald’s advertising agencies to evaluate

    5   all potential media partners and, therefore, did not fit within McDonald’s media
    6
        strategy. Answering further, Defendant admits that it has not purchased advertising
    7

    8   on The Weather Channel through its advertising agencies, either before or after Allen
    9   Media Group purchased Weather Group, as The Weather Channel did not satisfy the
   10
        selection criteria used by McDonald’s advertising agencies to evaluate all potential
   11

   12   media partners and, therefore, did not fit within McDonald’s media strategy.
   13   Defendant lacks knowledge or information sufficient to form a belief about the truth
   14
        of the remaining allegations as stated in paragraph 79 of Plaintiffs’ Third Amended
   15

   16   Complaint, and therefore denies them.
   17
              ANSWER ¶ 80: Defendant states that it consistently bought advertising on
   18
        Entertainment Studios’ syndicated programming until 2019, and that in 2021 and
   19

   20   2022, consistent with its current media strategy, McDonald’s purchased advertising
   21
        on two of Plaintiffs’ digital properties, The Grio and Local Now. Answering further,
   22
        Defendant admits it has not purchased advertising on ESN Lifestyle Networks
   23

   24   through its advertising agencies, as they did not satisfy the selection criteria used by
   25
        McDonald’s advertising agencies to evaluate all potential media partners and,
   26
        therefore, did not fit within McDonald’s media strategy. Answering further,
   27

   28   Defendant admits that it has not purchased advertising on The Weather Channel
                                                  - 22 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   through its advertising agencies, either before or after Allen Media Group purchased
    2
        Weather Group, as The Weather Channel did not satisfy the selection criteria used
    3

    4   by McDonald’s advertising agencies to evaluate all potential media partners and,

    5   therefore, did not fit within McDonald’s media strategy. Defendant lacks knowledge
    6
        or information sufficient to form a belief about the truth of the remaining allegations
    7

    8   as stated in paragraph 80 of Plaintiffs’ Third Amended Complaint, and therefore
    9   denies them.
   10
              ANSWER ¶ 81: Defendant states that it consistently bought advertising on
   11

   12   Entertainment Studios’ syndicated programming until 2019, and that in 2021 and
   13   2022, consistent with its current media strategy, McDonald’s purchased advertising
   14
        on two of Plaintiffs’ digital properties, The Grio and Local Now. Answering further,
   15

   16   Defendant admits it has not purchased advertising on ESN Lifestyle Networks
   17
        through its advertising agencies, as they did not satisfy the selection criteria used by
   18
        McDonald’s advertising agencies to evaluate all potential media partners and,
   19

   20   therefore, did not fit within McDonald’s media strategy. Answering further,
   21
        Defendant admits that it has not purchased advertising on The Weather Channel
   22
        through its advertising agencies, either before or after Allen Media Group purchased
   23

   24   Weather Group, as The Weather Channel did satisfy the selection criteria used by
   25
        McDonald’s advertising agencies to evaluate all potential media partners and,
   26
        therefore, did not fit within McDonald’s media strategy. Defendant lacks knowledge
   27

   28   or information sufficient to form a belief about the truth of the remaining allegations
                                                  - 23 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   as stated in paragraph 81 of Plaintiffs’ Third Amended Complaint, and therefore
    2
        denies them.
    3

    4         ANSWER ¶ 82: Defendant denies the allegations as stated in paragraph 82

    5   of Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that it
    6
        consistently bought advertising on Entertainment Studios’ syndicated programming
    7

    8   until 2019, and in that 2021 and 2022, consistent with its current media strategy,
    9   McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
   10
        and Local Now. Answering further, Defendant admits that it has not purchased
   11

   12   advertising on ESN Lifestyle Networks through its advertising agencies, as they did
   13   not satisfy the selection criteria used by McDonald’s advertising agencies to evaluate
   14
        all potential media partners and, therefore, did not fit within McDonald’s media
   15

   16   strategy. Answering further, Defendant admits that it has not purchased advertising
   17
        on The Weather Channel through its advertising agencies, either before or after Allen
   18
        Media Group purchased Weather Group, as The Weather Channel did not satisfy the
   19

   20   selection criteria used by McDonald’s advertising agencies to evaluate all potential
   21
        media partners and, therefore, did not fit within McDonald’s media strategy.
   22
              ANSWER ¶ 83: Defendant denies the allegations as stated in paragraph 83
   23

   24   of Plaintiffs’ Third Amended Complaint. Answering further, McDonald’s states that
   25
        beginning in 2019, McDonald’s media strategy largely eliminated syndicated
   26
        programming from its media mix, as it shifted towards streaming, video on demand,
   27

   28   digital and other more modern media offerings.
                                                 - 24 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 84: Defendant lacks knowledge or information sufficient to form
    2
        a belief about the truth of the allegations as stated in paragraph 84 of Plaintiffs’ Third
    3

    4   Amended Complaint, and therefore denies them. Answering further, McDonald’s

    5   states that beginning in 2019, McDonald’s media strategy largely eliminated
    6
        syndicated programming from its media mix, as it shifted towards streaming, video
    7

    8   on demand, digital and other more modern media offerings.
    9         ANSWER ¶ 85: Defendant admits that it consistently bought advertising on
   10
        Entertainment Studios’ syndicated programming until 2019, and that in 2021 and
   11

   12   2022, consistent with its current media strategy, McDonald’s purchased advertising
   13   on two of Plaintiffs’ digital properties, The Grio and Local Now. Answering further,
   14
        Defendant admits that it has not purchased advertising on ESN Lifestyle Networks
   15

   16   through its advertising agencies, as they did not satisfy the selection criteria used by
   17   McDonald’s advertising agencies to evaluate all potential media partners and,
   18
        therefore, did not fit within McDonald’s media strategy. Answering further,
   19

   20   Defendant admits that it has not purchased advertising on The Weather Channel
   21
        through its advertising agencies, either before or after Allen Media Group purchased
   22
        Weather Group, as The Weather Channel did not satisfy the selection criteria used
   23

   24   by McDonald’s advertising agencies to evaluate all potential media partners and,
   25
        therefore, did not fit within McDonald’s media strategy. Defendant admits that since
   26
        2019, consistent with its current media strategy, it has not purchased any advertising
   27

   28   on Plaintiffs’ syndicated programming. Defendant lacks knowledge or information
                                                   - 25 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   sufficient to form a belief about the truth of the remaining allegations as stated in
    2
        paragraph 85 of Plaintiffs’ Third Amended Complaint, and therefore denies them.
    3

    4         ANSWER ¶ 86: Defendant admits Darren Galatt sent a slide deck to Adele

    5   Lassere on or about December 9, 2020. Defendant denies the remaining allegations
    6
        as stated in paragraph 86 of Plaintiffs’ Third Amended Complaint.
    7

    8         ANSWER ¶ 87: Defendant lacks knowledge or information sufficient to form
    9   a belief about the truth of the allegations regarding what or why “Entertainment
   10
        Studios wanted to pitch its syndicated programming to OMD,” as stated in paragraph
   11

   12   87 of Plaintiffs’ Third Amended Complaint Defendant, and therefore denies them.
   13   Defendant denies that it “forced” Plaintiffs to pitch its syndicated programming to
   14
        Burrell, and states that on numerous occasions Plaintiffs have pitched their media
   15

   16   offerings directly to OMD for consideration.      Defendant denies the remaining
   17
        allegations as stated in paragraph 87 of Plaintiffs’ Third Amended Complaint.
   18
              ANSWER ¶ 88: Defendant denies that any of its employees or officers made
   19

   20   a decision “not to contract with Plaintiffs.” Answering further, Defendant states it
   21
        consistently bought advertising on Entertainment Studios’ syndicated programming
   22
        until 2019, and that in 2021 and 2022, consistent with its current media strategy,
   23

   24   McDonald’s purchased advertising on two of Plaintiffs’ digital properties, The Grio
   25
        and Local Now. Answering further, Defendant states that, just as with any potential
   26
        media partner, Plaintiffs’ programming would have been evaluated against the
   27

   28   selection criteria used by McDonald’s advertising agencies to evaluate all potential
                                                 - 26 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   media partners, and that if their programming was not recommended by the agencies,
    2
        it is because it did not satisfy the selection criteria.
    3

    4          ANSWER ¶ 89: Defendant denies “Entertainment Studios has suffered, and

    5   continues to suffer, significant harm as a result of McDonald’s racism.” Answering
    6
        further, Defendant states that it consistently bought advertising on Entertainment
    7

    8   Studios’ syndicated programming until 2019, and that in 2021 and 2022, consistent
    9   with its current media strategy, McDonald’s purchased advertising on two of
   10
        Plaintiffs’ digital properties, The Grio and Local Now. Answering further, Defendant
   11

   12   admits it has not purchased advertising on ESN Lifestyle Networks through its
   13   advertising agencies, as they did not satisfy the selection criteria used by McDonald’s
   14
        advertising agencies to evaluate all potential media partners and, therefore, did not
   15

   16   fit within McDonald’s media strategy. Answering further, Defendant admits that it
   17
        has not purchased advertising on The Weather Channel through its advertising
   18
        agencies, either before or after Allen Media Group purchased Weather Group, as The
   19

   20   Weather Channel did not satisfy the selection criteria used by McDonald’s
   21
        advertising agencies to evaluate all potential media partners and, therefore, did not
   22
        fit within McDonald’s media strategy. Defendant denies the remaining allegations as
   23

   24   stated in paragraph 89 of Plaintiffs’ Third Amended Complaint.
   25
               ANSWER ¶ 90: Defendant denies that the enumerated cable networks are
   26
        “similarly situated” to the ESN Lifestyle Networks and The Weather Channel.
   27

   28   Answering further, Defendant denies that it advertised on the Cooking Channel,
                                                     - 27 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   Destination America, Motor Trend, or Travel Channel from 2015 to 2021. Answering
    2
        further, Defendant admits that it advertised on Comedy Central, Oxygen, and E! in
    3

    4   2021. Answering further, Defendant lacks knowledge or information sufficient to

    5   form a belief about the truth of the allegations regarding whether any of the
    6
        enumerated cable networks are “white-owned,” as stated in paragraph 90 of
    7

    8   Plaintiffs’ Third Amended Complaint, and therefore denies them. Defendant denies
    9   the remaining allegations as stated in paragraph 90 of Plaintiffs’ Third Amended
   10
        Complaint.
   11

   12         ANSWER ¶ 91: Defendant denies the allegations as stated in paragraph 91
   13   of Plaintiffs’ Third Amended Complaint.
   14
              ANSWER ¶ 91.a.: Defendant denies the allegations as stated in paragraph
   15

   16   91.a. of Plaintiffs’ Third Amended Complaint.
   17
              ANSWER ¶ 91.b.: Defendant denies the allegations as stated in paragraph
   18
        91.b. of Plaintiffs’ Third Amended Complaint.
   19

   20         ANSWER ¶ 91.c.: Defendant denies the allegations as stated in paragraph
   21
        91.c. of Plaintiffs’ Third Amended Complaint.
   22
              ANSWER ¶ 91.d.: Defendant denies the allegations as stated in paragraph
   23

   24   91.d. of Plaintiffs’ Third Amended Complaint.
   25
              ANSWER ¶ 91.e.: Defendant denies the allegations as stated in paragraph
   26
        91.e. of Plaintiffs’ Third Amended Complaint.
   27

   28         ANSWER ¶ 91.f.: Defendant denies the allegations as stated in paragraph
                                               - 28 -
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    1   91.f. of Plaintiffs’ Third Amended Complaint.
    2
              ANSWER ¶ 91.g.: Defendant denies the allegations as stated in paragraph
    3

    4   91.g. of Plaintiffs’ Third Amended Complaint.

    5         ANSWER ¶ 91.h.: Defendant denies the allegations as stated in paragraph
    6
        91.h. of Plaintiffs’ Third Amended Complaint.
    7

    8         ANSWER ¶ 92: Defendant denies that the cable networks referenced in the
    9   preceding paragraphs are “similarly situated” to Plaintiffs’ networks. Answering
   10
        further, Defendant lacks knowledge or information sufficient to form a belief about
   11

   12   the truth of the allegations regarding whether any of the enumerated cable networks
   13   are “white-owned,” as stated in paragraph 92 of Plaintiffs’ Third Amended
   14
        Complaint, and therefore denies them. Answering further, Defendant states that the
   15

   16   last three sentences of paragraph 92 of Plaintiff’s Third Amended Complaint (along
   17
        with its associated footnote) contain legal conclusions to which no answer is required.
   18
        To the extent an answer is required, Defendant denies the allegations as stated in
   19

   20   Paragraph 92 of Plaintiffs’ Third Amended Complaint.
   21
              ANSWER ¶ 93: Defendant admits that Plaintiffs’ networks and syndicated
   22
        programming are not similarly situated to the twelve cable networks enumerated in
   23

   24   Plaintiffs’ Third Amended Complaint because, among other reasons, they have lower
   25
        viewer reach (i.e., lower ratings). Defendant denies the remaining allegations as
   26
        stated in paragraph 93 of Plaintiffs’ Third Amended Complaint.
   27

   28
                                                 - 29 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 94: Defendant denies the allegations as stated in paragraph 94
    2
        of Plaintiffs’ Third Amended Complaint. Answering further, Defendant states that
    3

    4   the selection criteria used by McDonald’s advertising agencies to evaluate all

    5   potential media partners considers, among other things, reach (i.e., ratings), and that
    6
        media offerings that do not satisfy the selection criteria will not be recommended for
    7

    8   investment.
    9         ANSWER ¶ 95: Defendant denies the allegations as stated in paragraph 95
   10
        of Plaintiffs’ Third Amended Complaint.
   11

   12         ANSWER ¶ 96: McDonald’s admits it does not advertise on The Weather
   13   Channel. Defendant denies the remaining allegations as stated in paragraph 96 of
   14
        Plaintiffs’ Third Amended Complaint.
   15

   16         ANSWER ¶ 97: Defendant admits that the ES Court Combo package is
   17
        syndicated programming. Answering further, Defendant states that beginning in
   18
        2019, McDonald’s media strategy largely reduced syndicated programming from its
   19

   20   media mix as it shifted towards streaming, video on demand, digital and other more
   21
        modern media offerings, and thus, the ES Court Combo package did not satisfy the
   22
        selection criteria used by McDonald’s advertising agencies to evaluate all potential
   23

   24   media partners. Defendant denies that the ES Court Combo package has greater
   25
        reach among the McDonald’s targeted demographic than the networks enumerated
   26
        in Paragraph 97. Defendant lacks knowledge or information sufficient to form a
   27

   28
                                                 - 30 -
                      MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   belief about the truth of the specific allegations as stated in paragraph 97 of Plaintiffs’
    2
        Third Amended Complaint, and therefore denies them.
    3

    4         ANSWER ¶ 98: Defendant denies that it purchased any national consumer

    5   media on CNN in 2021. Answering further, Defendant denies that the ES Court
    6
        Combo package has greater reach among the McDonald’s targeted demographic than
    7

    8   the networks enumerated in Paragraph 98. Answering further, Defendant lacks
    9   knowledge or information sufficient to form a belief about the truth of the remaining
   10
        allegations as stated in paragraph 98 of Plaintiffs’ Third Amended Complaint, and
   11

   12   therefore denies them.
   13         ANSWER ¶ 99: Defendant denies the allegations as stated in paragraph 99
   14
        of Plaintiffs’ Third Amended Complaint.
   15

   16         ANSWER ¶ 100: Defendant admits that McDonald’s uses MRI-Simmons
   17
        survey data as one of many inputs in making television advertising decisions.
   18
        Defendant lacks knowledge or information sufficient to form a belief about the truth
   19

   20   of the remaining allegations as stated in paragraph 100 of Plaintiffs’ Third Amended
   21
        Complaint, and therefore denies them.
   22
              ANSWER ¶ 101: Defendant admits that it targets potential McDonald’s
   23

   24   customers through, among other things, its national media strategy. Defendant lacks
   25
        knowledge or information sufficient to form a belief about the truth of the remaining
   26
        allegations as stated in paragraph 101 of Plaintiffs’ Third Amended Complaint, and
   27

   28   therefore denies them.
                                                   - 31 -
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    1         ANSWER ¶ 102: Defendant lacks knowledge or information sufficient to
    2
        form a belief about the truth of the specific allegations as stated in paragraph 102 of
    3

    4   Plaintiffs’ Third Amended Complaint, and therefore denies them.

    5         ANSWER ¶ 103: Defendant lacks knowledge or information sufficient to
    6
        form a belief about the truth of the specific allegations as stated in paragraph 103 of
    7

    8   Plaintiffs’ Third Amended Complaint, and therefore denies them.
    9         ANSWER ¶ 104: Defendant lacks knowledge or information sufficient to
   10
        form a belief about the truth of the specific allegations as stated in paragraph 104 and
   11

   12   its subparts of Plaintiffs’ Third Amended Complaint, and therefore denies them.
   13         ANSWER ¶ 105: Defendant lacks knowledge or information sufficient to
   14
        form a belief about the truth of the specific allegations as stated in paragraph 105 of
   15

   16   Plaintiffs’ Third Amended Complaint, and therefore denies them.
   17         ANSWER ¶ 106: Defendant lacks knowledge or information sufficient to
   18
        form a belief about the truth of the specific allegations as stated in paragraph 106 of
   19

   20   Plaintiffs’ Third Amended Complaint, and therefore denies them.
   21
              ANSWER ¶ 107: Defendant lacks knowledge or information sufficient to
   22
        form a belief about the truth of the specific allegations regarding what “MRI-
   23

   24   Simmons data” purports to show, as stated in paragraph 107 of Plaintiffs’ Third
   25
        Amended Complaint, and therefore denies them. Defendant denies the remaining
   26
        allegations as stated in paragraph 107 of Plaintiffs’ Third Amended Complaint.
   27

   28         ANSWER ¶ 108: Defendant admits that it consistently bought advertising
                                                  - 32 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   on Entertainment Studios’ syndicated programming until 2019, and that in 2021
    2
        and 2022, consistent with its current media strategy, McDonald’s purchased
    3

    4   advertising on two of Plaintiffs’ digital properties, The Grio and Local Now.

    5   Answering further, Defendant admits it has not purchased advertising on ESN
    6
        Lifestyle Networks through its advertising agencies, as they did not satisfy the
    7

    8   selection criteria used by McDonald’s advertising agencies to evaluate all potential
    9   media partners and, therefore, did not fit within McDonald’s media strategy.
   10
        Answering further, Defendant admits that it has not purchased advertising on The
   11

   12   Weather Channel through its advertising agencies, either before or after Allen
   13   Media Group purchased Weather Group, as The Weather Channel did not satisfy
   14
        the selection criteria used by McDonald’s advertising agencies to evaluate all
   15

   16   potential media partners and, therefore, did not fit within McDonald’s media
   17
        strategy. Defendant denies the remaining allegations as stated in paragraph 108 of
   18
        Plaintiffs’ Third Amended Complaint.
   19

   20         ANSWER ¶ 109: Defendant denies the allegations as stated in paragraph 109
   21
        of Plaintiffs’ Third Amended Complaint.
   22
              ANSWER ¶ 110: Defendant lacks knowledge or information sufficient to
   23

   24   form a belief about the truth of the specific allegations regarding what “OMD told
   25
        Weather Group,” as stated in paragraph 110 of Plaintiffs’ Third Amended Complaint,
   26
        and therefore denies them. Defendant admits that it has not purchased advertising on
   27

   28   The Weather Channel through its advertising agencies, as The Weather Channel did
                                                 - 33 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   not satisfy the selection criteria used by McDonald’s advertising agencies to evaluate
    2
        all potential media partners and, therefore, did not fit within McDonald’s media
    3

    4   strategy. Defendant denies the remaining allegations as stated in paragraph 110 of

    5   Plaintiffs’ Third Amended Complaint.
    6
              ANSWER ¶ 111: Defendant lacks knowledge or information sufficient to
    7

    8   form a belief about the truth of the allegations regarding whether any of the
    9   referenced “networks that McDonald’s contracts with for advertising” are “white-
   10
        owned,” as stated in paragraph 111 of Plaintiffs’ Third Amended Complaint, and
   11

   12   therefore denies them. Answering further, Defendant lacks knowledge or information
   13   sufficient to form a belief about the truth of the allegations regarding what specific
   14
        “audiences” the ESN Lifestyle Networks supposedly “target,” as stated in paragraph
   15

   16   111 of Plaintiffs’ Third Amended Complaint, and therefore denies them. Answering
   17
        further, Defendant admits it did not purchase advertising on ESN Lifestyle Networks
   18
        through its advertising agencies, as they did not satisfy the selection criteria used by
   19

   20   McDonald’s advertising agencies to evaluate all potential media partners and,
   21
        therefore, did not fit within McDonald’s media strategy. Defendant denies the
   22
        remaining allegations in paragraph 111 of Plaintiffs’ Third Amended Complaint.
   23

   24         ANSWER ¶ 112: Defendant lacks knowledge or information sufficient to
   25
        form a belief about the truth of the allegations regarding what Burrell “has claimed,”
   26
        as stated in paragraph 112 of Plaintiffs’ Third Amended Complaint, and therefore
   27

   28   denies them. Answering further, Defendant lacks knowledge or information
                                                  - 34 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   sufficient to form a belief about the truth of the allegations regarding what “white-
    2
        owned networks” Plaintiffs refer to in paragraph 112 of Plaintiffs’ Third Amended
    3

    4   Complaint, or what these supposed “white-owned networks” national distribution is,

    5   and therefore denies them. Answering further, Defendant admits that it did not
    6
        purchase advertising on ESN Lifestyle Networks through its advertising agencies, as
    7

    8   they did not satisfy the selection criteria used by McDonald’s advertising agencies to
    9   evaluate all potential media partners and, therefore, did not fit within McDonald’s
   10
        media strategy. Defendant denies the remaining allegations in paragraph 112 of
   11

   12   Plaintiffs’ Third Amended Complaint.
   13         ANSWER ¶ 113: Paragraph 113 of Plaintiff’s Third Amended Complaint
   14
        contains legal conclusions to which no answer is required. To the extent an answer
   15

   16   is required, Defendant denies the allegations as stated in paragraph 113 of Plaintiffs’
   17
        Third Amended Complaint.
   18
              ANSWER ¶ 114: Paragraph 114 of Plaintiff’s Third Amended Complaint
   19

   20   contains legal conclusions to which no answer is required. To the extent an answer
   21
        is required, Defendant denies the allegations as stated in paragraph 114 of Plaintiffs’
   22
        Third Amended Complaint.
   23

   24         ANSWER ¶ 115: Paragraph 115 of Plaintiff’s Third Amended Complaint
   25
        contains legal conclusions to which no answer is required. To the extent an answer
   26
        is required, Defendant denies the allegations as stated in paragraph 115 of Plaintiffs’
   27

   28   Third Amended Complaint.
                                                 - 35 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 116: Defendant denies the allegations as stated in paragraph 116
    2
        of Plaintiffs’ Third Amended Complaint.
    3

    4         ANSWER ¶ 117: Defendant denies the allegations as stated in paragraph 117

    5   of Plaintiffs’ Third Amended Complaint.
    6
              ANSWER ¶118: Defendant denies the allegations as stated in paragraph 118
    7

    8   of Plaintiffs’ Third Amended Complaint.
    9         ANSWER ¶ 119: Defendant denies the allegations as stated in paragraph 119
   10
        of Plaintiffs’ Third Amended Complaint.
   11

   12
                                   FIRST CAUSE OF ACTION

   13
                                  (Violation of 42 U.S.C. § 1981)

   14         ANSWER ¶ 120: Defendant reasserts and incorporates by references
   15   Paragraphs 1 through 120 of this Answer as if fully set forth herein.
   16
              ANSWER ¶ 121: Defendant denies the allegations as stated in paragraph 121
   17

   18   of Plaintiffs’ Third Amended Complaint.
   19
              ANSWER ¶ 122: Paragraph 122 of Plaintiff’s Third Amended Complaint
   20
        contains legal conclusions to which no answer is required. To the extent an answer
   21

   22   is required, Defendant admits that African Americans are a protected class for
   23
        purposes of 42 U.S.C. § 1981. Defendant lacks knowledge or information sufficient
   24
        to form a belief about the truth of the remaining allegations as stated in paragraph
   25

   26   122 of Plaintiffs’ Third Amended Complaint, and therefore denies them.
   27
              ANSWER ¶ 123: Defendant states that it consistently bought advertising on
   28
                                                 - 36 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   Entertainment Studios’ syndicated programming until 2019, and that in 2021 and
    2
        2022, consistent with its current media strategy, McDonald’s purchased advertising
    3

    4   on two of Plaintiffs’ digital properties, The Grio and Local Now. Answering

    5   further, Defendant admits it has not purchased advertising on ESN Lifestyle
    6
        Networks through its advertising agencies, as they did not satisfy the selection
    7

    8   criteria used by McDonald’s advertising agencies to evaluate all potential media
    9   partners and, therefore, did not fit within McDonald’s media strategy. Answering
   10
        further, Defendant admits that it has not purchased advertising on The Weather
   11

   12   Channel through its advertising agencies, either before or after Allen Media Group
   13   purchased Weather Group, as The Weather Channel did not satisfy the selection
   14
        criteria used by McDonald’s advertising agencies to evaluate all potential media
   15

   16   partners and, therefore, did not fit within McDonald’s media strategy. Defendant
   17
        denies the remaining allegations as stated in paragraph 123 of Plaintiffs’ Third
   18
        Amended Complaint.
   19

   20         ANSWER ¶ 124: Defendant denies the allegations as stated in paragraph 124
   21
        of Plaintiffs’ Third Amended Complaint.
   22
              ANSWER ¶ 125: Defendant denies the allegations as stated in paragraph 125
   23

   24   of Plaintiffs’ Third Amended Complaint.
   25
              ANSWER ¶ 126: Defendant denies the allegations as stated in paragraph 126
   26
        of Plaintiffs’ Third Amended Complaint.
   27

   28
                                                 - 37 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 127: Defendant denies the allegations as stated in paragraph 127
    2
        of Plaintiffs’ Third Amended Complaint.
    3
                                 SECOND CAUSE OF ACTION
    4
                            (Violation of the Unruh Civil Rights Act)
    5

    6         ANSWER ¶ 128: Defendant reasserts and incorporates by references

    7   Paragraphs 1 through 128 of this Answer as if fully set forth herein.
    8
              ANSWER ¶ 129: Paragraph 129 of Plaintiff’s Third Amended Complaint
    9

   10   contains statements of law and legal conclusions to which no answer is required.
   11         ANSWER ¶ 130: Paragraph 130 of Plaintiff’s Third Amended Complaint
   12
        contains statements of law and legal conclusions to which no answer is required..
   13

   14         ANSWER ¶ 131: Paragraph 131 of Plaintiff’s Third Amended Complaint
   15   contains statements of law and legal conclusions to which no answer is required.
   16
              ANSWER ¶ 132: Defendant denies the allegations as stated in paragraph 132
   17

   18   of Plaintiffs’ Third Amended Complaint.
   19
              ANSWER ¶ 133: The allegation in paragraph 133 of Plaintiff’s Third
   20
        Amended Complaint regarding whether or not Plaintiffs are a “protected class” calls
   21

   22   for a legal conclusion to which no answer is required, and to the extent an answer is
   23
        required to those allegations, Defendant admits that African Americans are a
   24
        protected class for purposes of the Unruh Act. Defendant denies the remaining
   25

   26   allegations as stated in paragraph 133 of Plaintiffs’ Third Amended Complaint.
   27

   28
                                                 - 38 -
                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         ANSWER ¶ 134: Defendant denies the allegations in paragraph 134 of
    2
        Plaintiffs’ Third Amended Complaint, and denies that Plaintiffs are entitled to any
    3

    4   damages whatsoever.

    5
              ANSWER TO PLAINTIFF’S PRAYER FOR RELIEF: Defendant,
    6
        having fully answered Plaintiffs’ Third Amended Complaint, admits that Plaintiffs
    7
        seek the relief requested, but denies (i) the substantive fact allegations as stated in
    8
        the Third Amended Complaint upon which Plaintiffs base their claims against
    9
        Defendant; and (ii) that Plaintiffs are entitled to any of the relief they seek in the
   10
        Third Amended Complaint.
   11

   12         ANSWER TO PLAINTIFFS’ JURY DEMAND: Defendant admits
   13
        Plaintiffs demand a trial by jury on all issues within this Third Amended
   14

   15   Complaint.
   16                    AFFIRMATIVE DEFENSES TO PLAINTIFFS’
   17                         THIRD AMENDED COMPLAINT
   18         For its affirmative and other defenses to the allegations in Plaintiffs’ Third
   19
        Amended Complaint, Defendant states as follows:
   20

   21         1.     The Third Amended Complaint, and each purported claim contained
   22   therein, fails to state a claim upon which relief may be granted.
   23
              2.     Plaintiffs’ claims are barred, in whole or on part, by the applicable
   24

   25   statute of limitations or filing periods.
   26
              3.     Any actions taken by Defendant with respect to Plaintiffs were in good
   27
        faith and for valid, legitimate, non-discriminatory, and non-retaliatory reasons and/or
   28
                                                    - 39 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1   for good cause.
    2
              4.     Plaintiffs did not suffer any damages attributable to any actions of
    3

    4   Defendant.

    5         5.     If Plaintiffs have suffered any injury, which Defendant expressly denies,
    6
        such injury is the result of Plaintiffs’ own acts or omissions.
    7

    8         6.     Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’
    9   alleged damages are speculative or were not reasonably foreseeable.
   10
              7.     If Plaintiffs have suffered damages, which Defendant expressly denies,
   11

   12   Plaintiffs failed to take reasonable and diligent efforts to mitigate their damages.
   13         8.     Plaintiffs are not entitled to recover punitive damages in this action
   14
        because at all times relevant herein, including prior to the allegations that form the
   15

   16   basis of the Plaintiffs’ claims, Defendant has taken good faith efforts to comply with
   17
        the statutes underlying Plaintiffs’ claims.
   18
              9.     Plaintiffs are not entitled to punitive damages because such damages
   19

   20   violate Defendant’s constitutional rights under the Fifth and Fourteenth Amendments
   21
        of the United States Constitution to procedural and substantive due process and the
   22
        constitutional right to be protected from excessive fines.
   23

   24         10.    Plaintiffs’ claims are barred, in whole or in part, by the doctrine of
   25
        unclean hands.
   26
              11.    Plaintiffs’ claims are barred, in whole or in part, by waiver and/or
   27

   28   estoppel.
                                                  - 40 -
                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1         Defendant reserves the right to amend this Answer and to assert additional
    2
        defenses and/or to supplement, alter, or change this Answer and Affirmative
    3

    4   Defenses upon completion of appropriate investigation and discovery.

    5

    6    Dated: September 26, 2022          RILEY SAFER HOLMES & CANCILA LLP
    7

    8                                       By: /s/ Jennifer Steeve
                                              Shalem Massey
    9                                         Jennifer Steeve
                                              Attorneys for Defendant
   10                                         McDONALD’S USA, LLC
   11

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                    MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
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    1                                  PROOF OF SERVICE
    2
        Entertainment Studios Networks, Inc., et al. v. McDonald’s Corporation
    3   Case No. 2:21-cv-04972-FMO-MAA
    4   STATE OF CALIFORNIA, COUNTY OF ORANGE
    5         I am employed in the County of Orange, State of California. I am over the
        age of 18 and not a party to the within action. My business address is: 100
    6   Spectrum Center Drive, Suite 440, Irvine, CA 92618.
               On September 26, 2022, I caused the foregoing document(s) described as:
    7
          DEFENDANT McDONALD’S USA, LLC’s ANSWER TO THIRD
    8     AMENDED COMPLAINT to be served on all interested parties in this action
          as follows:
    9
          MILLER BARONDESS, LLP                      Attorneys for Plaintiffs
   10     LOUIS R. MILLER                            Phone: 310-552-4400
          DAVID W. SCHECTER                          Fax: 310-552-8400
   11     1999 Avenue of the Stars, Suite 1000       Email: smiller@millerbarondess.com;
          Los Angeles, CA 90067                      dschecter@millerbarondess.com
   12

   13

   14
                   BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said
        document(s) to be served by means of this Court’s electronic transmission of the
   15
        Notice of Electronic filing through the Court’s transmission facilities, to the parties
        and/or counsel who are registered CM/ECF Users set forth in the service list
   16
        obtained from this Court.
                   FEDERAL - I declare that I am employed in the office of a member of
   17   the bar of this Court at whose direction the service was made.
   18
              Executed on September 26, 2022, at Irvine, California.

   19                                           /s/ Jennifer Steeve
   20

   21

   22

   23

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                     MCDONALD’S USA LLC’S ANSWER TO THIRD AMENDED COMPLAINT
